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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

 JOHN SOLOMON,

                     Plaintiff,                      Case No. 1:23-cv-00759-RJL
 v.

 MERRICK GARLAND, et al.

                      Defendants.


      PLAINTIFF’S PARTIAL MOTION FOR SUMMARY JUDGEMENT

      The Plaintiff, John Solomon, moves for summary judgment pursuant to

Federal Rule of Civil Procedure 56. The reasons for this motion are set forth in the

attached Memorandum of Points and Authorities in Support of Mr. Solomon’s Partial

Motion for Summary Judgement. A proposed order and statement of material facts

not in dispute are also attached, along with five exhibits.

Dated: August 18, 2023                  Respectfully submitted,

                                        /s/ Michael Ding
                                        Reed D. Rubinstein (D.C. Bar No. 400153)
                                        James K. Rogers (AZ Bar No. 027287)*
                                        Michael Ding (D.C. Bar No. 1027252)
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                                        *Application for Pro Hac Vice forthcoming
